                                     IN THE UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                               Plaintiff,

                       v.                                CR NO: 1:23-mj-00011-SKO

MARTIN PARRAZ

                              Defendant.

                                APPLICATION FOR WRIT OF HABEAS CORPUS
             The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                        ☒ Ad Prosequendum                                   ☐ Ad Testificandum
 Name of Detainee:     Martin Parraz
 Detained at           Tulare County Jail
 (custodian):
 Detainee is:          a.)     ☒ charged in this district by: ☐ Indictment ☐ Information ☒ Complaint
                                 charging detainee with: 21 USC 841(a)(1) and 18 USC 922(g)(1)
                  or   b.)     ☐ a witness not otherwise available by ordinary process of the Court
                                 ___________________
 Detainee will:        a.)       ☐ ___________________
                                   return to the custody of detaining facility upon termination of proceedings
                  or   b.)       ☒ be retained in federal custody until final disposition of federal charges
                                   ____________

                       Appearance is necessary FORTHWITH in the Eastern District of California.

                       Signature:
                       Printed Name & Phone No:                 Kimberly A. Sanchez
                       Attorney of Record for:                  United States of America

                                            WRIT OF HABEAS CORPUS
                            ☒ Ad Prosequendum                   ☐ Ad Testificandum

        The above application is granted and the above-named custodian, as well as any Federal Agent for this district,
is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be had in this
cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

 Dated:   1/27/2023
                                                             Honorable Sheila K. Oberto
                                                             U.S. MAGISTRATE JUDGE
Please provide the following, if known:
 AKA(s) (if             Shooter; Martin Pena Parraz; Martin Pene                        ☒Male     ☐Female
 Booking or CDC #:      48253                                                           DOB:      04/01/1975
 applicable):
 Facility Address:      Parraz
                        36650 Rd 112, Visalia, CA 93291                                 Race:     H
 Facility Phone:        (559)735-1750                                                   FBI#:     959822DB7
 Currently

 Incarcerated For:                               RETURN OF SERVICE
 Executed on:
                                                             (signature)
